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                                              October 10, 2023



BY CM/ECF AND EMAIL

The Honorable Thomas M. Horan
United States Bankruptcy Court for the District of Delaware
824 North Market Street, 3rd Floor
Wilmington, DE 19801

                    Re:     In re: AmeriFirst Financial, Inc., et al.,
                            Case No. 23-11240 (TMH)

Dear Judge Horan:

                I write on behalf of the Official Committee of Unsecured Creditors (the “UCC”) in
the above-captioned chapter 11 cases to request a conference with the Court in connection with
the final hearing on the Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors
(A) To Obtain Postpetition Financing And (B) To Utilize Cash Collateral, (II) Granting Adequate
Protection to Prepetition Lenders, (III) Modifying The Automatic Stay, (IV) Scheduling a Final
Hearing, and (V) Granting Related Relief [D.I. 21] (the “DIP Motion”) and the United States
Trustee’s Motion To Transfer Venue [D.I. 142] which are scheduled for hearing for Friday,
October 20, 2023, at 10:00 a.m. For the reasons discussed below, the UCC respectfully requests
that the Final DIP hearing be continued for three business days to allow for discovery to occur and
objections and a reply to be filed thereafter.

               Following entry of the Scheduling and Protective Order on October 5, 2023
[D.I. 222], the UCC served document requests directed to the Debtors, their CRO, Paladin
Management Group LLC, and directors Jeffrey Sloane and Eric Dane seeking the expedited
production of documents necessary to enable the UCC meaningfully to respond to the pending
motions. That same day, the UCC served a document subpoena directed to RCP Credit
Opportunities Fund Loan SPV (Fund III), L.P., RCP Customized Credit Fund (Fund IV-A), L.P.,
and Reverence Capital Partners (collectively, “RCP”).

             Despite a requested production date for the discovery and return date for the
subpoena of October 9, 2023, the Debtors only communicated today that they intend to begin a
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rolling production with an expected completion date of Friday October 13, 2023, which is also the
current deadline for the UCC to file objections to the DIP Motion. RCP has not engaged
substantively with the UCC or produced any documents, and the UCC currently has no idea
whether RCP intends to produce responsive documents and, if so, on what schedule.

                 Moreover, despite representations by the Debtors’ counsel in response to a question
from the UCC’s counsel on September 27, 2023, that “the proposed final DIP order has been on
file for some time,” late in the evening on October 6, 2023, the Debtors filed a revised proposed
final DIP order. The version of the final DIP Order filed on October 6th purports to extinguish
the rights of the UCC and all parties in interest to investigate and challenge RCP’s lien rights or to
investigate and prosecute any claims against RCP as provided in the Interim Order (I) Authorizing
Debtors (A) to Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting
Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling
a Final Hearing, and (V) Granting Related Relief [D.I. 61]. There was no supplemental motion
filed in compliance with the Local Rules requesting this form of relief, or any purported
justification or explanation as to the basis for this proposed revision.

               Against this backdrop, earlier this morning, the UCC’s counsel requested that the
Debtors agree to a very short adjournment of the final DIP hearing of three business days, and an
adjustment to the attendant deadlines as follows to enable the UCC to review the Debtors’
documents and possibly take depositions in order to enable it to respond to the DIP Motion:

               Completion of document production – October 13, 2023
               Completion of Depositions – October 18, 2023
               DIP Objections – October 20, 2023
               DIP Replies – October 23, 2023
               Hearing – October 25, 2023, or such date as the Court and parties are available

That request was summarily denied by the Debtors’ counsel, thereby necessitating the need for the
UCC to seek the Court’s assistance in resolving the matter.

                                               Sincerely,

                                               /s/ Donna L. Culver

                                               Donna L. Culver

DLC/mch
cc:  All Counsel (By CM/ECF)
